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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

JEREMY MALONE,

Defendant.                                                 No. 09-30142-DRH

                                      ORDER

HERNDON, Chief Judge:

             This matter was referred to United States Magistrate Judge Donald G.

Wilkerson for the specific purpose of conducting a change of plea for Defendant

Malone, pursuant to 28 U.S.C. § 636, LOCAL RULE 72.1(b)(2) and Defendant

Malone’s consent (Doc. 37). Pursuant to FEDERAL RULE OF CRIMINAL PROCEDURE 11,

the change of plea hearing was held on April 12, 2010 (Doc. 36). During the change

of plea, Defendant Malone pleaded guilty to the Indictment, conspiracy to distribute

and possess with intent to distribute 1,000 kilograms or more of marijuana,

following a thorough colloquy with Judge Wilkerson. Thereafter, Judge Wilkerson

issued a Report and Recommendation (“the Report”) recommending that the Court

accept Defendant Malone’s plea of guilty (Doc. 40).

             In accordance with 28 U.S.C. § 636(b)(1)(B), the parties were allowed

fourteen days to file written objections. As of this date, neither party has filed an

objection. Therefore, the Court ADOPTS the Report in its entirety. Thus, it is the

finding of the Court in the case of United States v. Jeremy Malone, that Defendant
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Malone was fully competent and capable of entering an informed plea, that he was

aware of the nature of the charges and the consequences of the plea, and that the

plea of guilty was a knowing and voluntary plea supported by an independent basis

in fact containing each of the essential elements of the offenses. Accordingly, the

Court ACCEPTS Defendant Malone’s guilty plea and ADJUDGES him GUILTY on

Count 1 of the Indictment. The Court REMINDS the parties that this matter for

sentencing on July 23, 2010 at 9:00 a.m.

            IT IS SO ORDERED.

            Signed this 30th day of April, 2010.



                                              /s/ DavidRHer|do|
                                              Chief Judge
                                              United States District Court
